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                                   4                                       UNITED STATES DISTRICT COURT

                                   5                                      NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                          SC INNOVATIONS, INC.,
                                   7                                                         Case No. 18-cv-07440-JCS
                                                             Plaintiff.
                                   8                                                         SUPERSEDING
                                                        v.                                   CASE MANAGEMENT AND
                                   9                                                         PRETRIAL ORDER (JURY)
                                          UBER TECHNOLOGIES, INC., et al.,
                                  10
                                                             Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             Following the further case management conference held on January 22, 2021, IT IS

                                  14   HEREBY ORDERED THAT:

                                  15             Except as modified by this Order, the Court adopts the dates in the Joint Case Management

                                  16   Statement, ECF Dkt No. 115.

                                  17             This Case Management Order supersedes the Case Management Order filed on June 12,

                                  18   2019, ECF 52.

                                  19             A further case management conference is set for June 4, 2021, at 2:00 p.m., by Zoom

                                  20   (Zoom Webinar: 161 926 0804. Password: 050855) before Chief Magistrate Judge Spero, in San

                                  21   Francisco, California. An updated joint case management conference statement is due May 28,

                                  22   2021.

                                  23        IT IS FURTHER ORDERED THAT:

                                  24        I. TRIAL DATE

                                  25        A. Jury trial will begin on July 18, 2022, at 8:30 a.m., in Courtroom F, 15th Floor, U.S.

                                  26   District Court, 450 Golden Gate, San Francisco, California.

                                  27        B. The length of the trial will be not more than ten (10) days.

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                                       Revised 5-9-18
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                                   1      II. DISCOVERY

                                   2      A. All non-expert discovery shall be completed by July 8, 2021.

                                   3      B. All expert disclosures required by the Federal Rules of Civil Procedure shall be made by

                                   4   August 2, 2021, by the party that bears burden of proof on a claim or defense. Expert rebuttal

                                   5   disclosures by the party that does not bear the burden of proof on an issue shall be made by
                                       August 31, 2021.
                                   6
                                          C. All discovery from experts shall be completed by October 13, 2021.
                                   7
                                          D. In lieu of filing formal discovery motions, lead trial counsel for Plaintiff(s) and lead trial
                                   8
                                       counsel for Defendant(s) shall meet and confer by video conference regarding the subject matter
                                   9
                                       of the Motion(s) in an effort to resolve these matters. After attempting other means to confer on
                                  10
                                       the issue (i.e. letter, phone call, e-mail) any party may demand such a meeting on ten (10) business
                                  11
                                       days’ notice. Within five (5) business days of the lead trial counsels’ meet-and-confer session, the
                                  12
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                                       parties shall provide a detailed Joint Letter to the Court, not to exceed five (5) pages without leave
 United States District Court




                                  13
                                       of Court. This Joint Letter shall include a description of every issue in dispute and, with respect to
                                  14
                                       each such issue, a detailed summary of each party’s final substantive position and their final
                                  15
                                       proposed compromise on each issue. Upon receipt of the Joint Letter the Court will determine
                                  16
                                       what future proceedings are necessary.
                                  17      III.      MOTIONS
                                  18             Each party may file one Daubert motion, addressing any number of expert witnesses, to be
                                  19   heard at the same time as dispositive motions. All dispositive motions and Daubert motions shall
                                  20   be filed on October 27, 2021, and will be heard on January 14, 2022, at 9:30 a.m. The
                                  21   opposition(s) on such motions shall be filed and served no later than November 24, 2021. Any
                                  22   reply papers on such motions shall be served and filed no later than December 8, 2021.
                                  23             All chambers copies should submitted in .pdf format and emailed to
                                  24   JCSPO@cand.uscourts.gov. Please do not submit paper copies unless requested by the Court.
                                  25             No party may file more than one (1) summary judgment motion without leave of Court.
                                  26      IV.       PRETRIAL CONFERENCE
                                  27      A Final Pretrial Conference shall be held on June 24, 2022, at 2:00 p.m., by Zoom (Zoom
                                  28
                                                                                         2
                                         Case 3:18-cv-07440-JCS Document 117 Filed 01/26/21 Page 3 of 16




                                   1   Webinar: 161 926 0804. Password: 050855) or in person in Courtroom F, 15th Floor. Each party

                                   2   shall attend by lead trial counsel.

                                   3      V.      TRIAL PROCEDURES

                                   4              A. Counsel shall not prepare a Joint Pretrial Conference Statement. Instead, thirty

                                   5   (30) calendar days in advance of the Final Pretrial Conference, please do the following:

                                   6                1. In lieu of preparing a Joint Pretrial Conference Statement, the parties shall meet

                                   7                    and confer in person, prepare and file a jointly signed Proposed Final Pretrial
                                                        Order that contains: (a) a brief description of the substance of claims and defenses
                                   8
                                                        which remain to be decided; (b) a statement of all relief sought; (c) all stipulated
                                   9
                                                        facts; (d) a list of all factual issues that remain to be tried, stating the issues with
                                  10
                                                        the same generality/specificity as any contested elements in the relevant jury
                                  11
                                                        instructions and organized by counts; (e) a joint exhibit list in numerical order,
                                  12
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                                                        including a brief description of the exhibit and Bates numbers, a blank column for
                                  13
                                                        when it will be offered into evidence, a blank column for when it may be received
                                  14
                                                        into evidence, and a blank column for any limitations on its use; and (f) each
                                  15
                                                        party’s separate witness list for its case-in-chief witnesses (including those
                                  16
                                                        appearing by deposition) providing, for all such witnesses, a short statement of
                                  17
                                                        the substance of his/her testimony and, separately, what, if any, non-cumulative
                                  18
                                                        testimony the witness will offer. If non-cumulative testimony is not spelled out,
                                  19                    the Court will presume the witness is cumulative. For each witness, state an
                                  20                    hour/minute time estimate for the direct examination (only). Items (e) and (f)
                                  21                    should be appendices to the proposed order. The proposed order should also state
                                  22                    which issues, if any, are for the Court to decide, rather than the jury. The
                                  23                    objective is to convert the proposed order to a final order with the benefit of any
                                  24                    discussion at the Final Pretrial Conference.
                                  25                2. File a joint set of proposed instructions on substantive issues of law arranged in a

                                  26                    logical sequence. If undisputed, an instruction shall be identified as "Stipulated

                                  27                    Instruction No.__ Re__," with the blanks filled in as appropriate. Disputed

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                                   1              instructions shall be identified as "Disputed Instruction No.__ Re__." Where the

                                   2              parties offer competing versions of a disputed instruction, both versions shall be

                                   3              inserted together, back to back, in their logical place in the overall sequence. All

                                   4              disputed versions of the same basic instruction shall bear the same number. For

                                   5              all disputed instructions, regardless of whether the parties offer competing
                                                  versions of a disputed instruction or a disputed instruction on a particular subject
                                   6
                                                  is offered by only one party, each party shall provide a brief explanation of its
                                   7
                                                  position, with citations to relevant authority. These explanations should be
                                   8
                                                  inserted in the joint jury instructions on the page(s) immediately following the
                                   9
                                                  disputed instruction(s). Even if stipulated, an instruction shall be supported by
                                  10
                                                  citation to relevant authority and/or identifying the source of the proposed
                                  11
                                                  instruction in the case of form instructions. Any modification to a form
                                  12
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                                                  instruction should be plainly identified. With respect to form preliminary
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                                  13
                                                  instructions, general instructions, or concluding instructions, the parties should
                                  14
                                                  use the Ninth Circuit Model Jury Instructions when available. As to those
                                  15
                                                  instructions, the parties may simply cite to the numbers of the requested
                                  16
                                                  instructions in the current edition of the Ninth Circuit Model Jury Instructions.
                                  17              Other than citing the numbers, the parties need not include preliminary, general,
                                  18              or concluding instructions in the packet.
                                  19           3. File a joint set of proposed voir dire questions supplemented as necessary by
                                  20              separate requests for good cause only.
                                  21           4. Any motions in limine shall be submitted as follows: at least thirty (30) calendar
                                  22              days before the conference, the moving party shall serve, but not file, the opening
                                  23              brief. At least twenty (20) calendar days before the conference, the responding

                                  24              party shall serve the opposition. There will be no reply. When the oppositions

                                  25              are received, the moving party should collate the motion and the opposition

                                  26              together, back-to-back, and then file the paired sets at least twenty (20) calendar

                                  27              days before the conference. Each motion should be presented in a separate

                                  28              memorandum and properly identified, for example, “Plaintiff’s Motion in Limine
                                                                              4
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                                   1                      No. 1 to Exclude . . . .” Please limit motions in limine to circumstances that

                                   2                      really need a ruling in advance. Usually five or fewer motions per side is

                                   3                      sufficient. Each motion should address a single, separate topic, and contain no

                                   4                      more than seven pages of briefing per side. Leave of Court will be required for

                                   5                      more or longer motions.
                                                      5. File trial briefs on any controlling issues of law.
                                   6
                                                      6. File proposed verdict forms, joint or separate.
                                   7
                                                     B. Not less than ten (10) days before the Pretrial Conference, counsel or the parties
                                   8
                                       shall file and serve any objections to exhibits.
                                   9
                                                     C. Exhibits and witnesses not included in the Proposed Joint Pretrial Order pursuant to
                                  10
                                       Paragraph V.A. may not be used in a party’s case-in-chief and may not be used during cross
                                  11
                                       examination of the other side's case- in-chief (other than for impeachment). Defense witnesses are
                                  12
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                                       not rebuttal witnesses. Objections not raised pursuant to Paragraph V.B. are waived.
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                                  13
                                                     D. Chambers’ copies of the aforementioned documents shall submitted in .pdf format
                                  14
                                       and emailed to JCSPO@cand.uscourts.gov. Please do not submit paper copies unless requested by
                                  15
                                       the Court. The Joint Proposed Final Pretrial Order, jury instructions, and verdict form shall be
                                  16
                                       submitted via e-mail as attachments, in MS Word format, to Judge Spero's Law Clerk
                                  17   Sam_Wheeler@cand.uscourts.gov and to Judge Spero's Courtroom Deputy
                                  18   Karen_Hom@cand.uscourts.gov. Please do not submit papers copies unless requested by the
                                  19   Court.
                                  20                 E. At the Final Pretrial Conference, the above submissions shall be considered and
                                  21   argued. The parties shall submit a joint summary of all rulings in proposed order format.
                                  22                                      PRETRIAL ARRANGEMENTS
                                  23                 F. Should a daily transcript and/or real-time reporting be desired, the parties shall
                                  24   make arrangements with Richard Duvall, Supervisor of the Court Reporting Services, at (415)

                                  25   522-2079, or Richard_Duvall@cand.uscourts.gov, at least fourteen (14) calendar days prior to the

                                  26   trial date.

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                                   1              G. During trial, counsel may wish to use overhead projectors, computer graphics,

                                   2   poster blow-ups, models, or specimens of devices. Equipment should be shared by all counsel to

                                   3   the maximum extent possible. The Court has an AV cart that can be made available to counsel. If

                                   4   the parties are interested in using the Court's AV cart, they should contact the deputy clerk one (1)

                                   5   week prior to the final pretrial conference to inquire about availability. The AV cart can't be
                                       reserved until the day of the final pretrial conference. Once the AV cart has been reserved, the
                                   6
                                       deputy clerk will make arrangements with counsel for training on the AV cart. If the AV cart is
                                   7
                                       not available, the Court can only provide an easel. The United States Marshal requires a court
                                   8
                                       order to allow equipment into the courthouse. For electronic equipment, parties should be
                                   9
                                       prepared to maintain the equipment or have a technician handy at all times. The parties shall tape
                                  10
                                       extension cords to the carpet for safety. The parties may work with the deputy clerk, Karen Hom
                                  11
                                       (415-522-2035), on all courtroom-layout issues.
                                  12
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                                                                                   SCHEDULING
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                                  13
                                                  H. Trial will be conducted from 8:30 a.m. to 2:30 p.m. (or slightly longer to finish a
                                  14
                                       witness) with one fifteen-minute break and one forty-five (45) minute lunch break, Monday
                                  15
                                       through Thursday, excluding holidays. Counsel must arrive by 8:15 a.m., or earlier as needed for
                                  16
                                       any matters to be heard out of the presence of the jury. The jury will be called at 8:30 a.m. Jury
                                  17
                                       deliberations will be allowed on Fridays.
                                  18
                                                                                         THE JURY
                                  19              I. No later than on the first day of trial, counsel shall jointly submit a simplified
                                  20   Statement of the Case to be read to the jury during voir dire as part of the proposed jury
                                  21   instructions. Unless the case is extremely complex, this statement should not exceed one page.
                                  22   The Court will usually conduct the voir dire.
                                  23              J. In civil cases, there are no alternate jurors and the jury is selected as follows:
                                  24   Twenty jurors are called to fill the jury box and the row in front of the bar, and are given numbers
                                  25   (1 through 20). The remaining potential jurors will be seated in the public benches. Hardship

                                  26   excuses will usually be considered at this point. The Court will then ask questions of those in the

                                  27   box and in the front of the bar. Counsel may then conduct a limited voir dire. Challenges for

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                                   1   cause will then be addressed out of the presence of the potential jurors. The Court will consider

                                   2   whether to fill in the seats of the stricken jurors. If so, questions will be asked of the additions and

                                   3   cause motions as to them will be considered. After a short recess, each side may exercise its

                                   4   allotment of peremptory challenges out of the presence of the potential jurors. The eight (or such

                                   5   other size as will constitute the jury) surviving the challenge process with the lowest numbers
                                       become the final jury. For example, if the plaintiff strikes 1, 5, and 7 and the defendant strikes 2,
                                   6
                                       4, and 9, then 3, 6, 8, 10, 11, 12, 13, and 14 become the final jury. If more (or fewer) than eight
                                   7
                                       jurors are to be seated, then the starting number will be adjusted. So too if more than a total of six
                                   8
                                       peremptories is allowed. Once the jury selection is completed, the jurors’ names will be read
                                   9
                                       again and they will be seated in the jury box and sworn. The Court may alter the procedure in its
                                  10
                                       discretion.
                                  11
                                                     K. Jurors may take notes. Note pads will be distributed at the beginning of each trial.
                                  12
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                                       The note pads will be collected at the end of each day and locked in the jury room. Jurors will be
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                                  13
                                       instructed on the use of notes both in the preliminary and final jury instructions.
                                  14
                                                                             OPENING STATEMENTS
                                  15
                                                     L. Each side will have a predetermined time limit for its opening statement (usually no
                                  16
                                       more than 45 minutes per side). Counsel must cooperate and meet and confer to exchange any
                                  17
                                       visuals, graphics, or exhibits to be used in the opening statements, allowing for time to work out
                                  18   objections and any reasonable revisions. Opening statements will commence as soon as the jury is
                                  19   sworn.
                                  20                                                 WITNESSES
                                  21                 M. At the close of each trial day, all counsel shall exchange a list of witnesses for the
                                  22   next two full court days and the exhibits that will be used during direct examination (other than for
                                  23   impeachment of an adverse witness). Within 24 hours of such notice, all other counsel shall
                                  24   provide any objections to such exhibits and shall provide a list of all exhibits to be used with the
                                  25   same witness on cross-examination (other than for impeachment). The first notice shall be

                                  26   exchanged prior to the first day of trial. All such notices shall be provided in writing.

                                  27

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                                   1              N. The parties and counsel shall have all upcoming witnesses ready to testify. Failure

                                   2   to have the next witness ready or to be prepared to proceed with the evidence will usually be

                                   3   deemed to constitute resting. If counsel plans to read in a transcript of a deposition, counsel must

                                   4   have a deposition prepared and vetted early on to read into the record.

                                   5              O. Counsel shall prepare two (2) sets of witness binders with the exhibits they plan to
                                       use with that witness. The second set will be given to the Court on the day the witness testifies.
                                   6
                                                  P. When there are multiple parties, counsel are responsible for coordination of the
                                   7
                                       cross-examination to avoid duplication.
                                   8
                                                  Q. If there are multiple parties on a side, counsel for only one party may cover a
                                   9
                                       subject matter; reiteration of the examination, whether direct or cross, will not be permitted.
                                  10
                                                                                     EXPERTS
                                  11
                                                  R. At trial, direct testimony of experts will be limited to the matters disclosed in their
                                  12
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                                       reports. Omitted material may not ordinarily be added on direct examination. Illustrative
                                  13
                                       animations, diagrams, charts, and models may be used on direct examination only if they were part
                                  14
                                       of the expert report, with the exception of simple drawings and tabulations that plainly illustrate
                                  15
                                       the content of the report, which can be drawn by the witness at trial or otherwise shown to the
                                  16
                                       jury. If cross-examination fairly opens the door, however, an expert may go beyond the written
                                  17
                                       report on cross-examination and/or re-direct examination. By written stipulation, all parties may
                                  18   relax these requirements. The Court will not permit Federal Rule of Evidence 703 to be used to
                                  19   admit otherwise inadmissible evidence through the expert (i.e., through the “back door”).
                                  20              S. As to damages studies, the cut-off date for past damages will be as of the expert
                                  21   report (or such earlier date as the expert may select). In addition, the experts may try to project
                                  22   future damages (i.e., after the cut-off date) if the substantive standards for future damages can be
                                  23   met. With timely leave of Court or by written stipulation, the experts may update their reports
                                  24   (with supplemental reports) to a date closer to the time of trial.

                                  25                 USE OF DEPOSITIONS TO IMPEACH AND SHORT READ-INS

                                  26              T. Depositions can be used at trial to impeach a witness testifying at trial or, in thecase

                                  27   of a party deponent, “for any purpose.” The parties shall abide by the following procedure:

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                                   1                 1.    On the first day of trial, counsel shall bring the original and clean

                                   2                       copies of any deposition(s) intended to be used during the course of

                                   3                       the trial. Any corrections must be readily available. If counsel need

                                   4                       to use the deposition during a witness examination, they shall provide

                                   5                       the Court with a copy with any corrections at the outset of the
                                                           examination. This will minimize delay between the original question
                                   6
                                                           and the read-ins of the impeaching material. Opposing counsel should
                                   7
                                                           have their copy immediately available.
                                   8
                                                     2.    When counsel reads a passage into the record, counsel should seek
                                   9
                                                           permission from the Court. For example, counsel should state: “I wish
                                  10
                                                           to read in page 210, lines 1 to 10 from the witness’ deposition.” A
                                  11
                                                           brief pause will be allowed for any objection.
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                                                     3.    The first time a deposition is read, counsel shall state the deponent’s
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                                  13
                                                           name, the date of the deposition, the name of the lawyer asking the
                                  14
                                                           question, and if it was a Federal Rule of Civil Procedure 30(b)(6)
                                  15
                                                           deposition. The first time a deposition is read, the Court will give an
                                  16
                                                           appropriate explanation to the jury about depositions. Do not
                                  17                       embellish with follow-on questions.
                                  18                 4.    When reading in the passage, counsel shall state “question” and then
                                  19                       read the question exactly, followed by,“answer” and then read the
                                  20                       answer exactly. Stating “question” and “answer” is necessary so the
                                  21                       jury and the court reporter can follow who was talking at the
                                  22                       deposition. Once the passage is on the record, move on. Opposing
                                  23                       counsel may then immediately ask to read such additional testimony

                                  24                       as is necessary to complete the context.

                                  25                 5.    To avoid mischaracterizing the record, counsel should not ask,

                                  26                       “Didn’t you say XYZ in your deposition?” It is unnecessary to ask a

                                  27                       witness if he “recalls” the testimony or otherwise to lay a foundation.

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                                   1                       6.      Subject to Federal Rule of Evidence 403, party depositions may be

                                   2                               read into the record whether or not they contradict trial testimony (and

                                   3                               regardless of who the witness is on the stand). For example, a short

                                   4                               party deposition excerpt may be used as foundation for questions for a

                                   5                               different witness on the stand.

                                   6                                    DEPOSITION DESIGNATION
                                                  U. The following procedure applies only to witnesses who appear by deposition. It
                                   7
                                       does not apply to live witnesses whose depositions are read into the record while they are on the
                                   8
                                       stand.
                                   9
                                                           1. To designate deposition testimony, counsel shall photocopy the cover
                                  10
                                                                page, the page where the witness is sworn, and then each page containing
                                  11
                                                                any testimony to be proffered, with lines through portions of such pages
                                  12
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                                                                not proffered. In addition, counsel shall line through objections or
                                  13
                                                                colloquy unless they are needed to understand the question. Any
                                  14
                                                                corrections must be interlineated, and references to exhibit numbers must
                                  15
                                                                conform to the trial numbers. Such interlineations should be done by
                                  16
                                                                hand. The finished packet should then be the actual script and should
                                  17
                                                                smoothly present the identification and swearing of the witness and
                                  18                            testimony desired. The packet must be provided to all other parties at
                                  19                            least twenty (20) calendar days before the Pretrial Conference. For the
                                  20                            rare case of voluminous designations, more lead time will be required.
                                  21                            Counsel are advised to be reasonable.
                                  22                       2. All other parties must promptly review the packet and highlight in yellow
                                  23                            any passages objected to and write in the margin the legal basis for the
                                  24                            objections. If a completeness objection is made, the objecting party must

                                  25                            insert into the packet the additional passages as needed to cure the

                                  26                            completeness objection. A completeness objection generally should be

                                  27                            made only if a few extra lines will cure the problem. Such additions shall

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                                                                                        10
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                                   1                    be highlighted in blue and an explanation for the inclusion shall be legibly

                                   2                    handwritten in the margin. Counsel must line out or x-out any irrelevant

                                   3                    portions of the additional pages.

                                   4                 3. The packets, as adjusted, must then be returned to the proffering party, for

                                   5                    consideration of whether to accept the adjustments. Next, counsel shall
                                                        meet and confer. Counsel for the proffering party must collate and
                                   6
                                                        assemble a final packet that covers the proffer and all remaining issues.
                                   7
                                                        At least ten (10) calendar days before the Pretrial Conference, the
                                   8
                                                        proponent must provide the Court with the final packet, with any
                                   9
                                                        objected-to portions highlighted and annotated as described above. If
                                  10
                                                        exhibits are needed to resolve the objections, counsel should include
                                  11
                                                        copies, with the relevant passages highlighted and tagged. The Court will
                                  12
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                                                        then read the packet and indicate its rulings in the margin in a distinctive
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                                  13
                                                        manner. Ordinarily, argument will not be needed.
                                  14
                                                     4. Counter-designations must be made by providing a packet with the
                                  15
                                                        counter-designated passages to the proponent at the same time any
                                  16
                                                        objections to the original proffer are returned to the first proffering party,
                                  17                    who must then supply its objections in the same manner.
                                  18                 5. When the packet is read to the jury, the examiner shall read the questions
                                  19                    (and any relevant colloquy) from the lectern while a colleague sits in the
                                  20                    witness stand and reads the answers. While reading the deposition the
                                  21                    reader and “witness” shall refrain from undue emoting, emphasis or other
                                  22                    dramatization.
                                  23                 6. When a video deposition is to be played, the video should omit any dead

                                  24                    time, long pauses, and objections/colloquy not necessary to understand

                                  25                    the answers.

                                  26              REQUESTS FOR ADMISSIONS AND INTERROGATORIES

                                  27

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                                   1              V. Please designate responses to requests for admissions and interrogatory answers in

                                   2   the same manner and under the same timetable as deposition designations.

                                   3                                                     EXHIBITS

                                   4              W. Prior to the Final Pretrial Conference, counsel must meet and confer in person to

                                   5   consider all exhibit numbers and objections and to eliminate duplicate exhibits and confusion over

                                   6   the precise exhibit.
                                                  X. Use numbers only, not letters, for exhibits, preferably the same numbers as were
                                   7
                                       used in depositions. Blocks of numbers should be assigned to fit the need of the case (e.g.,
                                   8
                                       Plaintiff has 1 to 100, Defendant A has 101 to 200, Defendant B has 201 to 300, etc.). A single
                                   9
                                       exhibit should be marked only once, just as it should have been marked only once in discovery
                                  10
                                       pursuant to this Court’s discovery guidelines. If the plaintiff has marked an exhibit, then the
                                  11
                                       defendant should not re-mark the exact document with another number. Different versions of the
                                  12
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                                       same document, e.g., a copy with additional handwriting, must be treated as different exhibits with
                                  13
                                       different numbers. To avoid any party claiming “ownership” of an exhibit, all exhibits shall be
                                  14
                                       marked and referred to as “Trial Exhibit No. _____,” not as “Plaintiff’s Exhibit” or “Defendant’s
                                  15
                                       Exhibit.” If an exhibit number differs from that used in a deposition transcript, then the latter
                                  16
                                       transcript must be conformed to the new trial number if and when the deposition testimony is read
                                  17
                                       to the jury (so as to avoid confusion over exhibit numbers). The jury should always hear any
                                  18   given exhibit referred to by its unique number. There should be no competing versions of the
                                  19   same exhibit number; any discrepancies must be brought to the Court’s attention promptly.
                                  20              Y. The exhibit tag shall be in the following form:
                                  21

                                  22                                 UNITED STATES DISTRICT COURT
                                  23                              NORTHERN DISTRICT OF CALIFORNIA
                                  24

                                  25                                     TRIAL EXHIBIT 100
                                  26

                                  27                                     Case No. ________________

                                  28
                                                                                         12
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                                   1

                                   2                                      Date Entered _____________
                                   3
                                                                          By______________________
                                   4                                      Deputy Clerk
                                   5

                                   6

                                   7   Counsel preferably will make the tag up in a color that will stand out (yet still allow for
                                   8   photocopying), but that is not essential. Place the tag on or near the lower right-hand corner or, if
                                   9   a photograph, on the back. Counsel should fill in the tag but leave the last two spaces blank.
                                  10   The parties must jointly prepare a single set of all trial exhibits that will be the official record set
                                  11   to be used with the witnesses and on appeal. Each exhibit must be tagged, three-hole-punched,
                                  12   separated with a label divider identifying the exhibit number, and placed in 3-ring binders. Spine
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                                  13   labels should indicate the numbers of the exhibits that are in the binders. Each set of exhibit
                                  14   binders should be marked as "Original". Deposit the exhibits with the deputy clerk ten (10) days
                                  15   before the Pretrial Conference.
                                  16               Z. Counsel must consult with each other and with the deputy clerk at the end of each
                                  17   trial day and compare notes as to which exhibits are in evidence and any limitations thereon. If

                                  18   there are any differences, counsel should bring them promptly to the Court’s attention.

                                  19           AA.     In addition to the official record exhibits, a single, joint set of bench binders

                                  20   containing a copy of the exhibits must be provided to the Court ten (10) days before the Pretrial

                                  21   Conference, and should be marked as "Chambers Copies". Each exhibit must be separated with a

                                  22   label divider identifying the exhibit number. (An exhibit tag is unnecessary for the bench set.)
                                       Spine labels should indicate the numbers of the exhibits that are in the binders.
                                  23
                                               BB.     Before the closing arguments, counsel must confer with the deputy clerk to make
                                  24
                                       sure the exhibits in evidence are in good order. Counsel may, but are not required to, jointly
                                  25
                                       provide a revised list of all exhibits actually in evidence (and no others) stating the exhibit number
                                  26
                                       and a brief, non-argumentative description (e.g., letter from A. B. Case to D. E. Frank, dated
                                  27

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                                                                                          13
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                                   1   August 17, 1999). This list may go into the jury room to help the jury sort through exhibits in

                                   2   evidence.

                                   3             CC.   Exhibit notebooks for the jury will not be permitted without prior permission from

                                   4   the Court. Publication must be by poster blow-up, overhead projection, or such other method as is

                                   5   allowed in the circumstances. It is permissible to highlight, circle or underscore in the
                                       enlargements as long as it is clear that it was not on the original.
                                   6
                                                                                  OBJECTIONS
                                   7
                                                 DD.   Counsel shall stand when making objections and shall not make speeches. Simply
                                   8
                                       give the legal basis for your objection (e.g., “calls for speculation” or “objection, hearsay”).
                                   9
                                                 EE.   There can only be one lawyer per witness per party for all purposes, including
                                  10
                                       objections. Only one lawyer will be permitted to make the opening statement and closing
                                  11
                                       argument unless the Court has given prior approval to more than one lawyer doing so.
                                  12
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                                                 FF.   Side bar conferences are discouraged.
                                  13
                                                 GG.   To maximize jury time, counsel must alert the Court in advance of any problems
                                  14
                                       that will require discussion outside the presence of the jury, so that the conference can be held
                                  15
                                       before court begins or after the jury leaves for the day.
                                  16
                                                                                 STIPULATIONS
                                  17
                                                 HH.   You must read all stipulations to the jury in order for them to become a part of the
                                  18
                                       record.
                                  19
                                                                                  TIME LIMITS
                                  20             II.   Ordinarily, the Court shall set fixed time limits at the final pretrial conference. All
                                  21   of your examination time (whether direct, cross, re-direct or re-cross) for all witnesses must fit
                                  22   within your time limit. Opening and closing time limits shall be considered separately. The time
                                  23   taken at a side bar or on objections will still be charged to the examining party unless otherwise
                                  24   ordered.
                                  25                                      CHARGING CONFERENCE
                                  26             JJ.   As the trial progresses and the evidence is heard, the Court will fashion a
                                  27   comprehensive set of jury instructions to cover all issues actually being tried. Prior to the close of

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                                   1   the evidence, the Court will provide a draft final charge to the parties. After a reasonable period

                                   2   for review, one or more charging conferences will be held at which each party may object to any

                                   3   passage, ask for modifications, or ask for additions. Any instruction request must be renewed

                                   4   specifically at the conference or it will be deemed waived, whether or not it was requested prior to

                                   5   trial. If a party still wishes to request an omitted instruction after reviewing the Court’s draft, then
                                       it must affirmatively re-request it at the charging conference in order to give the Court a fair
                                   6
                                       opportunity to correct any error. Otherwise, as stated, the request will be deemed abandoned or
                                   7
                                       waived.
                                   8
                                                                           JUROR QUESTIONNAIRE
                                   9
                                              The attached voir dire questionnaire shall be given to the potential jurors and copies of the
                                  10
                                       responses will be made available to counsel at the beginning of voir dire.
                                  11
                                              IT IS SO ORDERED.
                                  12
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                                  13
                                       Dated: January 26, 2021
                                  14
                                                                                         ______________________________________
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                                                                                         JOSEPH C. SPERO
                                  16                                                     United States Chief Magistrate Judge

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                                                                                 CONFIDENTIAL
                                   1
                                                                           JUROR QUESTIONNAIRE
                                   2   Please fill out this form as completely as possible and print clearly. Since we want to make copies
                                       for the attorneys and the Court, do not write on the back of any page. If you need more room,
                                   3
                                       continue at the bottom or on the side of the page. Thank you for your cooperation.
                                   4
                                       1.        Your name:
                                   5
                                       2.        Your age:
                                   6   3.        City in which you reside:
                                       4.        Your place of birth:
                                   7
                                       5.        Do you rent or own your own home?
                                   8   6.        Are you married or do you have a domestic partner?          Yes              No
                                       7.        Please list the occupation of your spouse or domestic partner:
                                   9

                                  10
                                       8.        If you are not married and do not have a domestic partner, are you (circle one, if
                                  11
                                                 applicable):
                                  12             ( ) Single             ( ) Separated           ( ) Divorced            ( ) Widowed
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                                       9.        If you have children, please list their ages and sex and, if they are employed, please give
                                  13
                                                 their occupations:
                                  14

                                  15

                                  16
                                       10.       What is your occupation and how long have you worked in it? (If you are retired, please
                                  17
                                                 describe your main occupation when you were working.)
                                  18

                                  19
                                       11.    Who is (or was) your employer?
                                  20   12.    How long have you worked for this employer?
                                       13.    Please describe your education background:
                                  21
                                       Highest grade completed:
                                  22   College and/or vocational schools you have attended:
                                  23

                                  24   Major areas of study:
                                       14.     Have you ever had jury experience?                       Number of times?
                                  25
                                       If yes: State/County Court              Federal Court
                                  26   When?                  Was it a civil or criminal case?
                                       Did any of the juries reach a verdict ?        Yes              No
                                  27

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                                       Revised 5-9-18
